                 Case 2:11-cr-00216-JAM Document 121 Filed 08/28/14 Page 1 of 2

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  United States of America
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8                                 IN THE UNITED STATES DISTRICT COURT

9                                    EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 2:11-CR-216
11
                                   Plaintiff,             STIPULATION AND ORDER TO CONTINUE
12                                                        JUDGMENT AND SENTENCING
                             v.
13                                                        DATE: December 11, 2014
     REGINALD L. THOMAS,                                  TIME: 9:00 a.m.
14                                                        COURT: Hon. Morrison C. England, Jr.
                                   Defendant.
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16
                                                  STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and defendant Reginald
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     Thomas by and through his counsel of record, hereby stipulate as follows:
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            1.       By previous order, this matter was set for Status Regarding Judgment and Sentencing on
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     August 14, 2014.
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            2.       By this stipulation, the parties move to continue Judgment and Sentencing as to defendant
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     Thomas to December 11, 2014.
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            3.       The parties agree and stipulate the following:
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            a.       Defendant Thomas entered a guilty plea to Counts 1 and 4 on September 12, 2013. The
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     presentence investigation report was completed April 10, 2014.
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            b.       Codefendant Deshawn Ray is set for a jury trial commencing on December 1, 2014. The
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     government anticipates calling defendant Thomas as a witness in the trial of codefendant Ray.
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      STIPULATION AND ORDER TO CONTINUE SENTENCING        1
      AS TO DEFENDANT THOMAS
                 Case 2:11-cr-00216-JAM Document 121 Filed 08/28/14 Page 2 of 2

 1          c.       The parties request that defendant Thomas’s entry of Judgment and Sentence be

 2 continued to December 11, 2014, after the anticipated completion of the trial of co-defendant Ray.

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 4 IT IS SO STIPULATED.

 5
     DATED:          August 11, 2014      /s/ Matthew G. Morris___________________
 6                                        MATTHEW G. MORRIS
                                          Assistant United States Attorney
 7

 8 DATED:            August 11, 2014      /s/ Colin L. Cooper (auth. 8/6/14)
                                          COLIN L. COOPER
 9                                        Counsel for Defendant
10
                                                     ORDER
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            IT IS SO ORDERED.
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     Dated: August 28, 2014
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      STIPULATION AND ORDER TO CONTINUE SENTENCING      2
      AS TO DEFENDANT THOMAS
